                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:08CR180-C


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
ISRAEL HERNANDEZ-OCAMPO,                               )
                                                       )
                         Defendant.                    )
__________________________________________________)



       THIS MATTER is before the Court on the Motions for Admission Pro Hac Vice (document

## 36 and 37) of defense counsel Diane M. Menashe and Bertha Duran. For the reasons set forth

therein, the Motion will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Robert J. Conrad, Jr.

       SO ORDERED.

                                                       Signed: September 18, 2008




       Case 3:08-cr-00180-RJC           Document 38         Filed 09/18/08      Page 1 of 1
